     Case 2:12-cv-04884-JGB-JCG Document 1 Filed 06/04/12 Page 1 of 12 Page ID #:4



 1     Michael A. McGill, SBN 231613
2      mcgill@policeattorney.com
       Christopher L. Gaspard, SBN 275763
3      chris@policeattorney.com
4      Jeremy D. Jass, SBN 279466
       jeremy@policeattorney.com
 5
       LACKIE & DAMMEIER LLP
 6     367 North Second Avenue
 7     Upland, CA 91786
       Telephone: (909) 985-4003
 8     Facsimile: (909) 985-3299
 9
       Attorney for Plaintiffs
10
11
                             UNITED STATES DISTRICT COURT
12
                            CENTRAL DISTRICT OF CALIFORNIA
13
14
       DANNY FLORES, ROBERT
15     BARADA, KEVIN WATSON, VY
       VAN, RAY LARA, DANE
                                                  CY           is   4334 vAv°
16
       WOOL WINE, RIKIMARU                      FLSA COMPLAINT
17
       NAKAMURA, CHRISTOPHER
18     WENZEL, CRUZ HERNANDEZ,                  (29 U.S.C. §§ 201 et seq.)
19
       SHANNON CASILLAS, JAMES                  DEMAND FOR JURY TRIAL
       JUST, RENE LOPEZ, GILBERT LEE,
20     STEVE RODRIGUES, and ENRIQUE
21     DEANDA;
22                         Plaintiffs,
23
              VS.
24
25     CITY OF SAN GABRIEL; and DOES
26     1 THROUGH 10, inclusive,
27                        Defendant.
28

                                         FLSA COMPLAINT
     Case 2:12-cv-04884-JGB-JCG Document 1 Filed 06/04/12 Page 2 of 12 Page ID #:5



 i

                                                 I.
                                        JURISDICTION
4            1.      This Court has subject matter jurisdiction over this action pursuant to
5      28 U.S.C. §§ 1331 and 1343(3). As the controversy arises under "the Constitution,
6      laws or treatises of the United States;" specifically, the claim rises under the Fair
7      Labor Standard Act of 1938, 29 U.S.C. §§ 201 et seq. ("FLSA").
 8
 9                                              II.
10                                           VENUE
11           2.     Venue is proper in the Central District of California pursuant to 28
12     U.S.C. §1391(b) because the acts, events, or omissions given rise to the claim
13     occurred in this District.
14                                              III.
15                                         PARTIES
16           3.    Plaintiff, DANNY FLORES, is a United States citizen and is
17     currently employed as a Police Officer with the Defendant City of San Gabriel
18     Police Department.
19           4.    Plaintiff, ROBERT BARADA, is a United States citizen and is
20     currently employed as a Police Officer with the Defendant City of San Gabriel
21     Police Department.
22            5.   Plaintiff, KEVIN WATSON, is a United States citizen and is
23     currently employed as a Police Officer with the Defendant City of San Gabriel
24     Police Department.
25            6.   Plaintiff, VY VAN, is a United States citizen and is
26     currently employed as a Police Officer with the Defendant City of San Gabriel
27     Police Department.
28            7.   Plaintiff, RAY LARA, is a United States citizen and is

                                          FLSA COMPLAINT
                                                  2
     Case 2:12-cv-04884-JGB-JCG Document 1 Filed 06/04/12 Page 3 of 12 Page ID #:6



1      currently employed as a Police Officer with the Defendant City of San Gabriel
2      Police Department.
3             8.   Plaintiff, DANE WOOLWINE, is a United States citizen and is
4      currently employed as a Police Officer with the Defendant City of San Gabriel
5      Police Department.
6             9.   Plaintiff, RIKIMARU NAKAMURA, is a United States citizen and is
7      currently employed as a Police Officer with the Defendant City of San Gabriel
8      Police Department.
9             10. Plaintiff, CHRISTOPHER WENZEL, is a United States citizen and is
10     currently employed as a Police Officer with the Defendant City of San Gabriel
11     Police Department.
12            11. Plaintiff, CRUZ HERNANDEZ, is a United States citizen and is
13     currently employed as a Police Officer with the Defendant City of San Gabriel
14     Police Department.
15            12. Plaintiff, SHANNON CASILLAS, is a United States citizen and is
16     currently employed as a Police Officer with the Defendant City of San Gabriel
17     Police Department.
18            13. Plaintiff, JAMES JUST, is a United States citizen and is
19     currently employed as a Police Officer with the Defendant City of San Gabriel
20     Police Department.
21            14. Plaintiff, RENE LOPEZ, is a United States citizen and is
       currently employed as a Police Officer with the Defendant City of San Gabriel
23     Police Department.
24            15. Plaintiff, GILBERT LEE, is a United States citizen and is
25     currently employed as a Police Officer with the Defendant City of San Gabriel
26     Police Department.
27             16. Plaintiff, STEVE RODRIGUES, is a United States citizen and is
28


                                         FLSA COMPLAINT
     Case 2:12-cv-04884-JGB-JCG Document 1 Filed 06/04/12 Page 4 of 12 Page ID #:7



1      currently employed as a Police Officer with the Defendant City of San Gabriel
2      Police Department.
3             17. Plaintiff, ENRIQUE DEANDA, is a United States citizen and is
4      currently employed as a Police Officer with the Defendant City of San Gabriel
5      Police Department.
6              18. Defendant, CITY OF SAN GABRIEL ("Defendant"), is and at all
7      relevant times was, the employer of Plaintiffs. Defendant is a political subdivision
 8     of the State of California. Defendant is an employer whose employees are engage
9      in commerce within the meaning of 29 U.S.C. §207(a) and as defined in 29 U.S.C.
10     §§203(d) and 203(e)(2)(c).
11                                               IV.
12                                            FACTS
13             19. The City of San Gabriel and the San Gabriel Police Officers
14     Association ("SGPOA") have entered into an agreement set forth in the
15     Memorandum of Understanding ("MOU"), which allows for officers to choose a
16     health insurance cash out option.
17             20. Under the current agreement between the City and Plaintiffs, Plaintiff
18     are entitled to receive "cash back" payments for any unused portion of their
19     medical benefits.
20             21. This cash back option does not meet the requirements under 29 C.F.R.
21      §778.215 to be excluded from the regular rate of pay.
11
               22. Defendant is obligated to follow the terms of the MOU. (29 C.F.R.
23      §778.102)
24             23. Plaintiffs have been exercising their option to receive the cash back
        payment for the unused portion of their medical benefits.
26             24. However, Defendant has failed to apply the cash back portions of
27      Plaintiffs unused medical benefits to Plaintiffs regular rate of pay.


                                         FLSA COMPLAINT
                                                 4
     Case 2:12-cv-04884-JGB-JCG Document 1 Filed 06/04/12 Page 5 of 12 Page ID #:8



              25. Plaintiffs have worked extensive overtime hours. However, the
       overtime rate that Plaintiffs were paid for the overtime hours worked did not
3      include the cash back portions of Plaintiffs unused medical benefits, which
4      Defendant failed to apply to Plaintiff's regular rate of pay.
5             26. Defendant knew or should have known of their obligation to include
6      the cash back portions of Plaintiffs unused medical benefits owed to Plaintiffs in
7      their regular rate of pay but nevertheless failed to do so. Thus, Defendant failed to
8      pay Plaintiffs for overtime compensation at one and one half times their regular
9      rate of pay.
10             27. Defendant acted voluntarily and deliberately in maintaining an
11     intentional practice of failing to compensate Plaintiffs in accordance with the
12     FLSA.
13             28. Plaintiffs have no administrative remedies to exhaust, and in this
14      matter are not required to.
15                                                   V.
16                                       CLAIM FOR RELIEF
17             29. As a direct and proximate result of their failure and refusal to pay
18     such compensation, Defendant has violated Title 29 U.S.C. §207, et seq.
19             30. As a direct and proximate result of Defendant's conduct, Plaintiffs
20     have been damaged in an amount according to proof at trial including, but not
21     limited to, a sum equivalent to the unpaid overtime compensation as required by 29
22     U.S.C. §216(b) and such other and further damages as made be shown at the time
23     of trial.
24             31. Plaintiffs are also entitled to liquidated damages in a sum equal to the
15
       amount of the unpaid compensation due and owing pursuant to 29 U.S.C. §216(d).
26             32. Plaintiffs are also entitled to recovery of reasonable attorney fees and
27     costs in pursuit of this action pursuant to 29 U.S.C. §216(b).


                                          FLSA COMPLAINT
                                                  5
        Case 2:12-cv-04884-JGB-JCG Document 1 Filed 06/04/12 Page 6 of 12 Page ID #:9



                33. Doing all things described and alleged, Defendant has deprived, and
         continues to deprive Plaintiffs of their rights, privileges and immunities which
    3    were clearly established at the time the Defendant acted herein and the Defendant
4        knew or should have known that its conduct would violate these rights, privileges
    5    and immunities. The Defendant acted with the intent to deprive Plaintiffs of their
    6    rights, privileges, and immunities by purposely and intentionally refusing and
    7    failing to pay or compensate Plaintiffs for hours they provided.
    8
    9
                      WHEREFORE, Plaintiffs pray for Judgment as follows:
10               34. All actual, consequential, liquidated and incidental losses and
11        damages, according to proof;
12               35. Such other damages as may be allowed in accordance with the Feder
13        Rules of Civil Procedure, Rule 54(c), and 29 U.S.C. §216 according to proof at
14        trial;
15               36 Attorney fees pursuant to 29 U.S.C. §216 and costs pursuant to Rule
16        54(d) of the Federal Rules of Civil Procedure;
17               37 Any and all other relief, including equitable relief, as the Court may
18        deem just and proper.
19                                              Respectfully submitted,
20
21        Date: June 4, 2012                    LACKIE & DAMMEIER LLP
22
23                                                 /4 .....4
24
                                                  P saelL. A.GasM...111
                                                                 :ard
                                                 remy D. Jass
26                                              Attorneys for Plainti s
17
-




                                           FLSA COMPLAINT
                                                   6
     Case 2:12-cv-04884-JGB-JCG Document 1 Filed 06/04/12 Page 7 of 12 Page ID #:10



                                DEMAND FOR JURY TRIAL
             Plaintiff hereby demands a jury trial under F.R. Civ. P., Rule 38 and C.D.
       Cal. Rule 38-1.
4

       Date: June 4, 2012                    LACKIE & DAMMEIER LLP
 6

 7
                                                 4( , • A_....
                                                 Tel A. M, ' ill
                                                 s L. Gaspard
 9
                                                emy D. Jass
10                                           Attorneys for Plaint
11

12

13

14

15

16

17

18

19

20

21

2'2
1 .1



24



26

27

28


                                         FLSA COMPLAINT
   Case 2:12-cv-04884-JGB-JCG Document 1 Filed 06/04/12 Page 8 of 12 Page ID #:11

Name & Address: Michael A. McGill, SBN 231613
Christopher L. Gapard, SBN 275763
Jeremy D. Jass, SBN 279466
367 North Second Avenue
Upland, CA 91786
Attorneys for Plaintiffs

                                 UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
DANNY FLORES, ROBERT BARADA, KEVIN              CASE NUMBER
WATSON, VY VAN, RAY LARA, DANE WOOL
WINE, (please see attachment to Summons)

                                V.
                                                    PLAINTIFF(S)          C V127 04 8 8 4 mt\)
CITY OF SAN GABRIEL; and DOES 1 THROUGH
10, inclusive,
                                                                                             SUMMONS
                                                 DEFENDANT(S).




TO: DEFENDANT(S):

         A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached E"complaint q                 amended complaint
q counterclaim q cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff's attorney, Michael A. McGill                        , whose address is
 367 North Second Avenue, Upland CA 91786                                                  . If you fail to do so,
judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.


                    JUN — 4 2012                                        Clerk, U.S. District Court

                                                                                          JULIE PRAD
    Dated:                                                              By:
                                                                                          Deputy Cl

                                                                                        (Seal of the Court)



[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)].




CV-01A (10/11                                                 SUMMONS
                                           •
     Case 2:12-cv-04884-JGB-JCG Document 1 Filed 06/04/12 Page 9 of 12 Page ID #:12
                                                                                            •                               SUM-200(A)
                                                                                               CASE NUMBER:
   SHORT TITLE:
    Flores, et al vs. City of San Gabriel

                                                         INSTRUCTIONS FOR USE
  ♦ This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
  ♦ If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
    Attachment form is attached."

   List additional parties (Check only one box. Use a separate page for each type of party.)   :




     ra       Plaintiff         ri Defendant    I I Cross-Complainant     El Cross-Defendant

   RIKIMARU NAKAMURA, CHRISTOPHER WENZEL, CRUZ HERNANDEZ, SHANNON CASILLAS,
   JAMES JUST, RENE LOPEZ, GILBERT LEE, STEVE RODRIGUES, and ENRIQUE DEANDA;
                        Plaintiff




                                                                                                                 Page             of
                                                                                                                                       Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California              ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007]                    Attachment to Summons                                              American LegalNet, Inc.
                                                                                                                        www.ForrnsWorldiow.com
       Case 2:12-cv-04884-JGB-JCG Document 1 Filed 06/04/12 Page 10 of 12 Page ID #:13
                                UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                           CIVIL COVER SHEET

 I (a) PLAINTIFFS (Check box if you are representing yourself q)                          DEFENDANTS
        DANNY FLORES, ROBERT BARADA, KEVIN WATSON, VY VAN, RAY                              CITY OF SAN GABRIEL; and DOES .1 THROUGH 10, INCLUSIVE,
        LARA, DANE WOOL NE, RIKIMARU NAKAMURA, CHRISTOPHER
        WENZEL, CRUZ HERNARDEZ, (see Attachment)



 (b) Attorneys (Firm Name, Address and Telephone Number. If you are representing          Attorneys (If Known)
     yourself, provide same.)
      Michael A. McGill, LACKIE, DAMMEIER & MCGILL
      367 North Second Avenue, Upland, CA 91786


II. BASIS OF JURISDICTION (Place an X in one box only.)                   III. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
                                                                                (Place an X in one box for plaintiff and one for defendant.)
q 1 U.S. Government Plaintiff        '3 Federal Question (U.S.                                                       PTF DEF                                          PTF DEF
                                          Government Not a Party)         Citizen of This State                      q 1 q1         Incorporated or Principal Place   q 4 q4
                                                                                                                                    of Business in this State
q 2 U.S. Government Defendant        q 4 Diversity (Indicate Citizenship Citizen of Another State                    q2      q2     Incorporated and Principal Place q 5    q5
                                         of Parties in Item III)                                                                    of Business in Another State
                                                                          Citizen or Subject of a Foreign Country q 3         q3    Foreign Nation                    q6    q6
IV. ORIGIN (Place an X in one box only.)
VI   Original      q 2 Removed from       q 3 Remanded from      q 4 Reinstated or     q 5 Transferred from another district (specify):    q 6 Multi-     q 7 Appeal to District
     Proceeding        State Court            Appellate Court        Reopened                                                                  District       Judge from
                                                                                                                                               Litigation     Magistrate Judge
V. REQUESTED IN COMPLAINT: JURY DEMAND: NrYes q No (Check 'Yes' only if demanded in complaint.)
CLASS ACTION under F.R.C.P. 23: q Yes [1No                                             q MONEY DEMANDED IN COMPLAINT: $
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
     29 U.S.C. §§ 201 et seq.
VII. NATURE OF SUIT (Place an X in one box only.)

    OTHER STATUTES                       CONTRACT                           TORTS                         TORTS                   PRISONER                      LABOR
q 400 State Reapportionment      q 110 Insurance                      PERSONAL INJURY                  PERSONAL                   PETITIONS           [1710 Fair Labor Standards
q 410 Antitrust                  q 120 Marine                       q 310 Airplane                     PROPERTY              q 510 Motions to                Act
q 430 Banks and Banking          q 130 Miller Act                   q 315 Airplane Product        q 370 Other Fraud                 Vacate Sentence   q 720 Labor/Mgmt.
q 450 Commerce/ICC               q 140 Negotiable Instrument               Liability              q 371 Truth in Lending            Habeas Corpus            Relations
       Rates/etc.                q 150 Recovery of                  q 320 Assault, Libel &        q 380 Other Personal       q 530 General            q 730 Labor/Mgmt.
q 460 Deportation                       Overpayment &                      Slander                       Property Damage     q 535 Death Penalty             Reporting &
q 470 Racketeer Influenced              Enforcement of              q 330 Fed. Employers'         q 385 Property Damage      q 540 Mandamus/                 Disclosure Act
       and Corrupt                      Judgment                           Liability
                                                                           Lia                           Product Liability          Other             q 740 Railway Labor Act
                                 q 151 Medicare Act                 q 340 Marine
       Organizations                                                                                  BANKRUPTCY             q 550 Civil Rights       q 790 Other Labor
q 480 Consumer Credit            q 152 Recovery of Defaulted        q 345 Marine Product          0 422 Appeal 28 USC        q 555 Prison Condition          Litigation
                                                                           Liability
q 490 Cable/Sat TV                      Student Loan (Excl.         q 350 Motor Vehicle                  158                     FORFEITURE /         q 791 Empl. Ret. Inc.
q 810 Selective Service                 Veterans)                   q 355 Motor Vehicle           q 423 Withdrawal 28              PENALTY                   Security Act
q 850 Securities/Commodities/    q 153 Recovery of                         Product Liability             USC 157             q 610 Agriculture            PROPERTY RIGHTS
       Exchange                         Overpayment of              q 360 Other Personal              CIVIL RIGHTS           q 620 Other Food &       q 820 Copyrights
q 875 Customer Challenge 12             Veteran's Benefits                 Injury                 q 441 Voting                      Drug              q 830 Patent
       USC 3410                  q 160 Stockholders' Suits          q 362 Personal Injury-        q 442 Employment           q 625 Drug Related       q 840 Trademark
q 890 Other Statutory Actions    q 190 Other Contract                      Med Malpractice        q 443 Housing/Acco-               Seizure of            SOCIAL SECURITY
q 891 Agricultural Act           q 195 Contract Product             q 365 Personal Injury-               mmodations                 Property 21 USC   q 861 HIA (1395f1)
q 892 Economic Stabilization            Liability                          Product Liability      q 444 Welfare                     881               q 862 Black Lung (923)
       Act                       q 196 Franchise                    q 368 Asbestos Personal       q 445 American with        q 630 Liquor Laws        q 863 DIWC/DIWW
q 893 Environmental Matters           REAL PROPERTY                        Injury Product                Disabilities -      q 640 R.R. & Truck              (405(g))
q 894 Energy Allocation Act      q 210 Land Condemnation                   Liability                     Employment          q 650 Airline Regs       q 864 SSID Title XVI
q 895 Freedom of Info. Act       q 220 Foreclosure                      IMMIGRATION               q 446 American with        q 660 Occupational       q 865 RSI (405(g))
q 900 Appeal of Fee Determi-     q 230 Rent Lease & Ejectment       q 462 Naturalization                 Disabilities -             Safety /Health       FEDERAL TAX SUITS
       nation Under Equal        q 240 Torts to Land                       Application                   Other               q 690 Other              q 870 Taxes (U.S. Plaintiff
       Access to Justice         q 245 Tort Product Liability       q 463 Habeas Corpus-          q 440 Other Civil                                          or Defendant)
q 950 Constitutionality of       q 290 All Other Real Property             Alien Detainee                Rights                                       q 871 IRS-Third Party 26
       State Statutes                                               q 465 Other Immigration                                                                  USC 7609
                                                                           Actions




FOR OFFICE USE ONLY:             Case Number:
                                                                                          CV12-04884
                     AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

CV-71 (05/08)                                                               CIVIL COVER SHEET                                                                           Page 1 of 2
        Case 2:12-cv-04884-JGB-JCG Document 1 Filed 06/04/12 Page 11 of 12 Page ID #:14
                                   UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                               CIVIL COVER SHEET


VIII(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? NirNo                 q Yes
If yes, list case number(s):

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? i(No                q Yes
If yes, list case number(s):

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) q A. Arise from the same or closely related transactions, happenings, or events; or
                              q B. Call for determination of the same or substantially related or similar questions of law and fact; or
                              DC. For other reasons would entail substantial duplication of labor if heard by different judges; or
                              q D. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
q Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).
  County in this District:*                                                               California County outside of this District; State, if other than California; or Foreign Country
Los Angeles County



b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
q Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).
  County in this District: *                                                              California County outside of this District; State, if other than California; or Foreign Country
 Los Angeles County



 c) List the County in this District; California County outside of this District; State if other than California . or Foreign Country, in which EACH claim arose.
      Note: In land condemnation cases, use the location of the tract of land involved.
  County in this District:*                                                               California County outside of this District; State, if other than California; or Foreign Country
Los Angeles County



* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases, use the location of the traces, land involved

X. SIGNATURE OF ATTORNEY (OR PRO PER):                                                                                 Date      silf// z
      Notice to Counsel/Parties: The CV-71 (JS-4            it Cover Sheet       the info      n contained herein neither replace nor supplement the filing and service of pleadings
      or other papers as required by law. This form,      ved by the Judicial Confer         the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
      but is used by the Clerk of the Court for the     se of statistics, venue and       ng the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

Key to Statistical codes relating to Social Securi Cases:
                 Nature of Suit Code Abbreviation            Substantive Statement of Cause of Action


                 861                     HIA                 All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
                                                             Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
                                                             program. (42 U.S.C. 1935FF(b))

                 862                     BL                  All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
                                                             (30 U.S.C. 923)

                 863                     DIWC                All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
                                                             amended; plus all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405(g))

                 863                     DIWW                All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
                                                             Act, as amended. (42 U.S.C. 405(g))

                 864                     SSID                All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
                                                             Act, as amended.

                 865                     RSI                 All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
                                                             U.S.C. (g))


CV-71 (05/08)                                                                   CIVIL COVER SHEET                                                                                   Page 2 of 2
 Case 2:12-cv-04884-JGB-JCG Document 1 Filed 06/04/12 Page 12 of 12 Page ID #:15

                                                                                             CASE NUMBER:
 SHORT TITLE:
— FLORES, et al vs. CITY OF SAN GABRIEL



    Attachment to CIVIL COVER SHEET

    Additional Plaintiff;

    SHANNON CASILLAS, JAMES JUST, RENE LOPEZ, GILBERT LEE, STEVE RODRIGUES and
    ENRIQUE DEANDA;

                                                           Plaintiff




      (Required for verified pleading) The items on this page stated on information and belief are (specify item numbers, not line
      numbers):

        This page may be used with any Judicial Council form or any other paper filed with the court.
                                                                                                                                       Page

      Form Approved by the                               ADDITIONAL PAGE
   Judicial Council of California       Attach to Judicial Council Form or Other Court Paper                                                   CRC 201, 501
  MC-020 [New January 1, 1987]
                                                                                                            I American LegalNet, Inc   I I www USCourtForms.coml
